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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                            )
AFGHAN AND IRAQI ALLIES UNDER               )
SERIOUS THREAT BECAUSE OF THEIR             )
FAITHFUL SERVICE TO THE UNITED              )
STATES, ON THEIR OWN AND ON BEHALF )
OF OTHERS SIMILARLY SITUATED,               )
                                            )
            Plaintiffs,                     )
                                            )
      v.                                    ) Civil Action No. 1:18-cv-01388-TSC
                                            )
ANTONY BLINKEN, et al.,                     )
                                            )
            Defendants.                     )
__________________________________________)

             DEFENDANTS’ NOTICE OF LODGING PROGRESS REPORT

       Defendants, through their undersigned counsel, file this notice of lodging for Defendants’

Progress Report pursuant to the Court’s June 14, 2020 Order, ECF No. 113, and the Court’s June

14, 2020 and September 3, 2020 Minute Orders.

       Defendants’ Progress Report covers the period of January 1, 2021 to March 31, 2021. A

copy of the Progress Report is attached as Exhibit A.
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Date: April 12, 2021                     Respectfully submitted,

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                                         D.C. Bar No. 415793
                                         Acting United States Attorney

                                         BRIAN P. HUDAK
                                         Acting Chief, Civil Division

                                         /s/ Joseph F. Carilli, Jr.
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                          Exhibit A
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                                      PROGRESS REPORT

         Defendants submit this Progress Report as required under the Court’s June 14, 2020 Order

(Docket No. 113) and the Court’s June 14, 2020 and September 3, 2020 Minute Orders. The

Progress Report is for the period of January 1, 2021 to March 31, 2021.

I.       Class Member Breakdown 1

         Afghan Allies Protection Act of 2009

                     Number of        Number of        Number of       Number of        Number of
                     Class            Class            Class           Class            Class
                     Members at       Members at       Members         Members          Members
                     the beginning    the end of       who entered     who              who began
                     of reporting     reporting        the step        completed        and ended
                     period (as of    period (as of    during the      the step         the reporting
                     January 1,       March 31,        reporting       during the       period in the
                     2021)            2021)            period          reporting        step
                                                                       period
    Step 4           [4280]           [3159]           [346]           [1249]           [128]
    Step 7           [762]            [498]            [1212]          [1385]           [15] (awaiting
                     (awaiting        (awaiting                        (approved)       government
                     government       government                                        action)
                     action)          action)                          [12] (denied)
                                                                                        [36] 2
                     [28] (awaiting   [64] (awaiting                                    (awaiting
                     applicant        applicant                                         applicant
                     action)          action)                                           action)

                     [2] (national    [11] (national                                    [2] (national
                     security cases   security cases                                    security cases
                     pending          pending                                           pending
                     between 90 to    between 90 to                                     between 90 to
                     180 days)        180 days)                                         180 days)



1
  The parties acknowledge that this report may include SIV applicants outside of the Court’s class
definition that the parties have nonetheless agreed to treat as class members because no class
identification methodology can perfectly capture class members given the manner in which
Defendants maintain records for SIV applicants.
2
  This number is larger than that in Column 1 because it includes cases that were awaiting
government action as of January 1, 2021 and which USCIS has since returned to the applicant
for applicant action.

                                                1
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              [0] (national     [1] (national                         [1] (national
              security cases    security cases                        security cases
              pending           pending                               pending
              between 181       between 181                           between 181
              to 240 days)      to 240 days)                          to 240 days)

              [2] (national     [2] (national                         [2] (national
              security cases    security cases                        security cases
              pending           pending                               pending
              greater than      greater than                          greater than
              241 days)         241 days)                             241 days)
Step 11       [585]             [1297]            [712]   [1]         [585]
              (awaiting         (awaiting                             (awaiting
              interview         interview                             interview
              scheduling)       scheduling)                           scheduling)

              [1] (awaiting     [0] (awaiting                         [0] (awaiting
              interview)        interview)                            interview)
Step 13       [299] (cases in   [339] (cases in   [266]   [225]       [266] (cases
              administrative    administrative                        in
              processing)       processing)                           administrative
                                                                      processing)
              [234] (national   [246] (national
              security cases    security cases                        [266]
              pending           pending                               (national
              greater than      greater than                          security cases
              120 days)         120 days)                             pending
                                                                      greater than
              [229] (national   [229] (national                       120 days)
              security cases    security cases
              pending           pending                               [229]
              greater than      greater than                          (national
              180 days)         180 days)                             security cases
                                                                      pending
              [186] (national   [218] (national                       greater than
              security cases    security cases                        180 days)
              pending           pending
              greater than 1    greater than 1                        [218]
              year)             year)                                 (national
                                                                      security cases
                                                                      pending
                                                                      greater than 1
                                                                      year)
Step 14                                                   [135]
                                                          principal




                                           2
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                                                  applicants
                                                  issued (SQ1)
                                                  [653]
                                                  derivative
                                                  applicants
                                                  issued (SQ2
                                                  and SQ3)




                                 3
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II.    Performance Standards for the Afghan SIV Program

       A.      Standards Met

       For the period of this Progress Report, Defendants met the performance standards in the

Joint Adjudication Plan for government-controlled Steps 2, 3, 5, 7, 8, 10, and 12.

       B.      Standards Not Met

       For the period of this Progress Report, Defendants did not meet the performance

standards in the Joint Adjudication Plan for Steps 4, 11, and 13.

            Step 4

               a.     Performance Standard: “The COM Committee will adjudicate a completed
                      application or appeal within 120 days of receipt from the NVC. For class
                      members currently in Step 4, the COM Committee will adjudicate the
                      completed application or appeal within 120 days of the date of the Court’s
                      approval of the Plan.”

               b.     Actual Performance: The COM Committee continued to adjudicate
                      completed applications or appeals, as feasible, and with support from staff
                      located in Washington, DC, processing a total of 2,032 (litigation and non-
                      litigation) cases. On average during this reporting period, the COM
                      Committee adjudicated a completed application or appeal from a class
                      member within 722 days of receipt from NVC, down from 901 days during
                      the previous reporting period.

               c.     Explanation: Despite constraints due to the COVID pandemic, the COM
                      Committee continued to adjudicate completed applications or appeals as
                      feasible. Fluctuations in staffing related to the COVID-19 pandemic, high
                      caseload volume, and implementation of the congressionally-mandated
                      prioritization plan (which requires high-priority tiers be processed first,
                      leaving low-priority tiers to wait longer for review and analysis) contributed
                      to the Department of State’s inability to meet the target timeframe. In
                      addition, the Department of State is directing resources to the review of the
                      SIV program directed by the President in Executive Order 14013.

            Step 11

               a.     Performance Standard: “After the NVC determines the application is
                      complete, the NVC will offer the applicant the next available interview
                      within 10 days of making that determination. The NVC will schedule the
                      interview within 60 days of contacting the applicant unless the applicant



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              requests a different interview location or interview time or unless there are
              reasonable circumstances for the delay as explained in the Progress
              Reports.”

       b.     Actual Performance: During this quarter, the U.S. Embassy in Kabul
              reopened for immigrant visa interviews, prioritizing SIVs, in February
              2021. During this quarter, however, the Embassy conducted interviews for
              cases (including both SIV cases and other immigration visa cases) that had
              been initially scheduled for March and April of 2020 at the Embassy and
              that were previously cancelled due to the suspension of routine in-person
              visa services caused by the COVID-19 global pandemic. NVC was not able
              to schedule additional interviews at Embassy Kabul as the Visa Section
              continued to work through the previously postponed cases. Therefore, NVC
              could not schedule interviews at the U.S. Embassy in Kabul within 10 days
              of determining an application complete. NVC was able to schedule one
              Afghan SIV interview at the U.S. Embassy in Paris. The Department of
              State notes that due to COVID restrictions, Afghans’ ability to travel out of
              Afghanistan is limited.

       c.     Explanation: During this quarter, the U.S. Embassy in Kabul began
              conducting immigrant visa services following the 11-month suspension of
              routine in-person visa services due to COVID-19. However, Embassy
              Kabul interviewed cases (both SIV cases and other immigrant visa cases)
              with previously-scheduled interview appointments that were cancelled in
              March and April of 2020. (Note: Since appointments are scheduled in
              advance, appointments for March and April of 2020 had been scheduled
              already when services were abruptly suspended due to COVID-19). NVC
              did schedule interviews at other U.S. embassies as they reopened to the
              public, as feasible. In addition, the Department of State is directing
              resources to the review of the SIV program directed by the President in
              Executive Order 14013.

    Step 13

       a.     Performance Standard: “All cases refused under INA section 221(g) for
              administrative processing that is solely within the Department of State’s
              control, including Advisory Opinions, will be completed within 90 days.
              For class members currently in Step 13 who are in administrative processing
              that is solely with the Department of State’s control, administrative
              processing will be completed within 90 days of the date of the Court’s
              approval of the Plan. All cases refused under INA section 221(g) for
              administrative processing that is not solely with the Department of State’s
              control and which require additional processing time to reconcile any
              national security concerns, see AAPA § 602(b)(4)(B), RCIA § 1242(c)(2),
              will be identified in the progress report in the following manner: number of
              cases pending greater than 120 days; number of cases pending greater than



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             180 days; and number of cases pending greater than one year. For the
             purpose of progress reporting, the beginning date for these cases is the date
             the consular officer placed the case in administrative processing.”

       b.    Actual Performance: Notwithstanding the constraints due to the COVID-19
             pandemic, the Department of State continued the administrative processing
             of cases in Step 13, as feasible. On average, administrative processing for
             those cases was completed within 92 days. During this period, 90% of
             Afghan case closures fell within the 90-day processing time, but closure of
             a handful of cases over a year old increases the statistic.

       c.    Explanation: Factors that contributed to the Department of State’s inability
             to meet the target timeframe for administrative processing under Step 13
             included reduced staffing and delays within the interagency process.
             Additionally, when the administrative processing of old cases is completed
             in Step 13, the average processing time reflects the age of those cases. Even
             though the majority of cases in Step 13 were completed within the 90-day
             target timeframe for this quarter, the closure of 22 Afghan cases that were
             created between 2014 and 2020 pushed the overall average above 90 days.
             In addition, the Department of State is directing resources to the review of
             the SIV program directed by the President in Executive Order 14013.




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                                      PROGRESS REPORT

         Defendants submit this Progress Report as required under the Court’s June 14, 2020 Order

(Docket No. 113) and the Court’s June 14, 2020 and September 3, 2020 Minute Orders. The

Progress Report is for the period of January 1, 2021 to March 31, 2021.

I.       Class Member Breakdown 1

         Refugee Crisis in Iraq Act of 2007

                     Number of        Number of        Number of       Number of        Number of
                     Class            Class            Class           Class            Class
                     Members at       Members at       Members         Members          Members
                     the beginning    the end of       who entered     who              who began
                     of reporting     reporting        the step        completed        and ended
                     period (as of    period (as of    during the      the step         the reporting
                     January 1,       March 31,        reporting       during the       period in the
                     2021)            2021)            period          reporting        step
                                                                       period
    Step 4           [0]              [0]              [0]             [0]              [0]
    Step 7           [2] (awaiting    [0] (awaiting    [8]             [1] (approved)   [0] (awaiting
                     government       government                                        government
                     action)          action)                          [2] (denied)     action)

                     [7] (awaiting    [14] (awaiting                                    [6] (awaiting
                     applicant        applicant                                         applicant
                     action)          action)                                           action)

                     [0] (national    [0] (national                                     [0] (national
                     security cases   security cases                                    security cases
                     pending          pending                                           pending
                     between 90 to    between 90 to                                     between 90 to
                     180 days)        180 days)                                         180 days)

                     [0] (national    [0] (national                                     [0] (national
                     security cases   security cases                                    security cases
                     pending          pending                                           pending


1
  The parties acknowledge that this report may include SIV applicants outside of the Court’s class
definition that the parties have nonetheless agreed to treat as class members because no class
identification methodology can perfectly capture class members given the manner in which
Defendants maintain records for SIV applicants.


                                                 1
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                   between 181       between 181                                      between 181
                   to 240 days)      to 240 days)                                     to 240 days)

                   [0] (national     [0] (national                                    [0] (national
                   security cases    security cases                                   security cases
                   pending           pending                                          pending
                   greater than      greater than                                     greater than
                   241 days)         241 days)                                        241 days)
    Step 11        [5] 2 (awaiting   [8] (awaiting    [3]           [0]               [5] (awaiting
                   interview         interview                                        interview
                   scheduling)       scheduling)                                      scheduling)

                   [0] (awaiting     [0] (awaiting                                    [0] (awaiting
                   interview)        interview)                                       interview)
    Step 13        [61] (cases in    [69] (cases in   [9]           [11]              [64] (cases in
                   administrative    administrative                                   administrative
                   processing)       processing)                                      processing)

                   [55] (national    [63] (national                                   [64] (national
                   security cases    security cases                                   security cases
                   pending           pending                                          pending
                   greater than      greater than                                     greater than
                   120 days)         120 days)                                        120 days)

                   [44] (national    [59] (national                                   [59] (national
                   security cases    security cases                                   security cases
                   pending           pending                                          pending
                   greater than      greater than                                     greater than
                   180 days)         180 days)                                        180 days)

                   [41] (national    [43] (national                                   [43] (national
                   security cases    security cases                                   security cases
                   pending           pending                                          pending
                   greater than 1    greater than 1                                   greater than 1
                   year)             year)                                            year)
    Step 14                                                         [2] 3 principal
                                                                    applicants
                                                                    issued (SQ1)

2
 This number has been revised from the FY2020 Quarterly Report. It was determined that one
case did not fit into the litigation class.
3
 Although the Department completed administrative processing in 11 Iraqi SIV cases, only two
principal applicants were issued this quarter. The U.S. Embassy Baghdad remains closed for all
immigrant visa services. Individual applicants must transfer their cases to other embassies or
consulates for issuance.


                                                2
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                                                   [2] derivative
                                                   applicants
                                                   issued (SQ2
                                                   and SQ3)




                                 3
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II.     Performance Standards for the Iraqi SIV Program

        A.      Standards Met

        For the period of this Progress Report, Defendants met the performance standards in the

Joint Adjudication Plan for government-controlled Steps 2, 3, 4, 5, 7, 8, 10, and 12.

        B.      Standards Not Met

        For the period of this Progress Report, Defendants did not meet the performance standards

in the Joint Adjudication Plan for Steps 11 and 13.

             Step 11

                a.     Performance Standard: “After the NVC determines the application is
                       complete, the NVC will offer the applicant the next available interview
                       within 10 days of making that determination. The NVC will schedule the
                       interview within 60 days of contacting the applicant unless the applicant
                       requests a different interview location or interview time or unless there are
                       reasonable circumstances for the delay as explained in the Progress
                       Reports.”

                b.     Actual Performance: NVC did not schedule interviews for applicants of any
                       visa classification at Embassy Baghdad and therefore could not schedule
                       interviews within 10 days of determining an application complete.

                c.     Explanation: As of December 31, 2019, Embassy Baghdad suspended all
                       consular services due to considerable damage done by Iranian-backed
                       militia supporters who attacked the Embassy compound. Public visa
                       services will not resume until the Consular CAC is reconstructed,
                       approximately 18-24 months from the start of construction; this project has
                       not commenced due to difficulties associated with the global pandemic and
                       security situation. Some cases that were near completion at the time of the
                       attack were able to be processed to completion by Consulate General Erbil,
                       although it is not an IV processing post. Due to the attack on Embassy
                       Baghdad, all immigrant visa paper files were destroyed to protect the
                       identities of the applicants. The cases must be re-created by NVC before
                       being transferred to a regional post for processing. In addition, the




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               Department of State is directing resources to the review of the SIV program
               directed by the President in Executive Order 14013.

     Step 13

        d.     Performance Standard: “All cases refused under INA section 221(g) for
               administrative processing that is solely within the Department of State’s
               control, including Advisory Opinions, will be completed within 90 days.
               For class members currently in Step 13 who are in administrative processing
               that is solely with the Department of State’s control, administrative
               processing will be completed within 90 days of the date of the Court’s
               approval of the Plan. All cases refused under INA section 221(g) for
               administrative processing that is not solely with the Department of State’s
               control and which require additional processing time to reconcile any
               national security concerns, see AAPA § 602(b)(4)(B), RCIA § 1242(c)(2),
               will be identified in the progress report in the following manner: number of
               cases pending greater than 120 days; number of cases pending greater than
               180 days; and number of cases pending greater than one year. For the
               purpose of progress reporting, the beginning date for these cases is the date
               the consular officer placed the case in administrative processing.”

        e.     Actual Performance: The Department continued the administrative
               processing of cases in Step 13, as feasible. On average, administrative
               processing for those cases was completed within 34 days. During this
               period, 82% of Iraqi case closures fell within the 90-day processing time.

        f.     Explanation: Factors that contributed to the Department of State’s inability
               to meet the target timeframe for all administrative processing under Step 13
               included reduced staffing and delays within the interagency process.
               Additionally, when the administrative processing of old cases is completed
               in Step 13, the average processing time reflects the age of those cases.
               However, the Department notes that administrative processing for 82% of
               cases was completed within a 90-day processing time. In addition, the
               Department of State is directing resources to the review of the SIV program
               directed by the President in Executive Order 14013.




                                         5
